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COMMONWEALTH OF MASSACHUSETTS
DEPARTMENT OF THE TRIAL COURT

 

HAMPDEN, SS. SUPERIOR COURT
COMMONWEALTH
Indictment No. 07-31
v.
CARLOS MALDONADO

 

 

10.

11.

AFFIDAVIT OF JOSHUA SANTOS

. Iwas a co-defendant of the defendant in the above-captioned prosecution.

On October 9, 2007, I pleaded guilty to two counts of assault with intent to murder and
related gun charges.

Those charges were the result of an incident that happened on October 9, 2006.

That evening, I ran into Carlos Maldonado and the third co-defendant in this case, Victor
Colon.

. [knew Maldonado from when we were young and grew up in the same area. When I saw

him that night, he had recently been released from juvenile detention.
The three of us ended up walking with Colon toward his girlfriend’s house.
I was drunk and high on angel dust. I was looking for trouble.

I was armed with two firearms. One was a revolver with the handle wrapped in duct tape.
The other was a 0.38 caliber semiautomatic pistol.

I saw three people walking toward us on Cabot Street.
I recognized one of them as someone I was having problems with.

I did not say anything to Maldonado or Colon before I pulled out one of my guns and
shot at the people walking toward us.

 
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12. I then ran to my mom’s house on Maple Street, where I took off the bulletproof vest I
was wearing and put down both guns.

13. Maldonado entered my mom’s home after me. I threatened to retaliate against him if he
told the police that I was the shooter.

14. Once we were in jail, I again threatened Maldonado to keep quiet about what I had done.

15. At my plea hearing, I did not correct the prosecutor’s suggestion that all three of us were
involved in the shooting.

16. I knew that if I was named as the sole shooter, my charges would not have been reduced
by the prosecutor. I would have faced more time in prison.

17. Maldonado did not know that I was planning to shoot at the men until I opened fire. He
took no part in the events; he was just a bystander.

18. Neither Maldonado’s trial attorney nor his appellate attorney tried to interview me about
this case.

Signed under the pains and penalties of perjury,

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Date

 

 
